Case 24-00216-ELG Docl1 Filed 06/17/24 Entered 06/17/24 13:40:53 Desc Main

ULM CUCM eletirelerelnm come (Tibi thm Cell] mer ti-e

United States Bankruptcy Court for the:

District of Columbia Fr [ i ict D

Case number (if known)’ Chapter you are filing under:

CO} Chapter 7 JUN 1 7 2024

QO) Chapter 11

Chapter 12 Clerk, U.S
Chapter 13 Bankrupley geo is an

Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy 12/15

The bankruptcy forms use you and Debfor 7 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a
joint case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,”
the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 17 and
Debtor 2 to distinguish between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The
same person must be Debtor 1 in all of the forms.

Be as complete and acqlirate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
{if known). Answer every question.

a Identify Yourself

4. Your full name

About Debtor 7: About Debtor 2 (Spouse Only in a Joint Case):

Write the name that is on your
government-issued picture JUANA

identification (for example, First ame First name
your driver's license or ROSA
passport). Middle name Middle name
Bring your picture
identification to your meeting Last name Last name 2
with the trustee. MILANO
Suffix (Sr, Jr, Il, Ill) Suffix (Sr, Jr, H, lll) :

2. All other names you

have used in the last 8 First name Fit name -
years =
Include your married or Middle name Middie name j —
maiden names.
Last name Last name
First name First name
Middle name Middle name
Last name Last name
3. Only the last 4 digits of -
your Social Security xxx — xx — _0 2 2 2 XXL KK
number or federal OR OR
Individual Taxpayer 9 9
Identification number XX — XX — XX — XX —
(ITIN)

Official Form 101 Voluntary Petition for Individuals Filing for Bankruptcy page 1
Case 24-00216-ELG Doci1 Filed 06/17/24 Entered 06/17/24 13:40:53 Desc Main

JUAN ROSA

Debtor 1

Document
MINANO

First Name Middie Name

4. Any business names
and Employer
Identification Numbers
(EIN) you have used in
the last 8 years

Include trade names and
doing business as names

5. Where you live

6. Why you are choosing

this district to file for
bankruptcy

Official Form 101

Last Name

About Debtor 1:

CJ | have not used any business names or EINs.

DLINAS PROPERTIES LLC

Page 2 of 10

Case number (if known)

About Debtor 2 (Spouse Only in a Joint Case):

(J | have not used any business names or EINs.

Business name

Business name

Business name

463703057

Business name

EIN EN
an TTT iN — 77

\f Debtor 2 lives at a different address:
3223 WARDER STREET NW
Number Street Number Street
UNTIE #2

20a

WASHINGTON DC 26771
City State ZIP Code City State ZIP Code
DISTRICT OF COLUMBIA —
County County

If your mailing address is different from the one
above, fill it in here. Note that the court will send
any notices to you at this mailing address.

101691 FOREST H8ILL CIRCLE

lf Debtor 2’s mailing address is different from
yours, fill it in here. Note that the court wil! send
any notices to this mailing address.

Number Street Number Street

P.O. Box P.O. Box

MANASSAS VA 20110

City State ZIP Code City State ZIP Code
Check one: Check one:

Zi Over the last 180 days before filing this petition,
| have lived in this district longer than in any
other district.

C) | have another reason. Explain.
(See 28 U.S.C. § 1408.)

Voluntary Petition for individuals Filing for Bankruptcy

3 Over the last 180 days before filing this petition,
| have lived in this district longer than in any
other district.

CJ { have another reason. Explain.
(See 28 USC. § 1408.)

page 2
Debtor 1

Case 24-00216-ELG Doci1 Filed 06/17/24 Entered 06/17/24 13:40:53 Desc Main

JUAN ROSA

Document Page 3 of 10
MINANO Case number (itsnawn)

First Name Midd Name

Last Name

ee Tell the Court About Your Bankruptcy Case

7.

10.

11.

The chapter of the
Bankruptcy Code you
are choosing fo file
under

How you will pay the fee

Have you filed for
bankruptcy within the
last 8 years?

Are any bankruptcy
cases pending or being
filed by a spouse who is
not filing this case with
you, or by a business
partner, or by an
affiliate?

Do you rent your
residence?

Official Form 101

Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box

CJ Chapter 7

Q) Chapter 11
Q) Chapter 12
wi Chapter 13

Q1 | will pay the entire fee when | file my petition. Please check with the clerk’s office in your
local court for more details about how you may pay. Typically, if you are paying the fee
yourself, you may pay with cash, cashier’s check, or money order. If your attorney is
submitting your payment on your behalf, your attorney may pay with a credit card or check
with a pre-printed address.

J i need to pay the fee in installments. If you choose this option, sign and attach the
Application for Individuals to Pay The Filing Fee in Installments (Official Form 103A).

L) | request that my fee be waived (You may request this option only if you are filing for Chapter 7.
By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
less than 150% of the official poverty line that applies to your family size and you are unable to
pay the fee in installments). If you choose this option, you must fill out the Application to Have the
Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.

C) No
Wl Yes. pistrice WASHINGTON DC — wnen 92/21/2024 Gace number 24-00044

MM / DD/YYYY

District When Case number

MM / DD/YYYY

District When Case number

MM / DD/YYYY

(4 No

U) Yes. Debtor Relationship to you

District When Case number, if known.

MM/DD /YYYY

Debtor Relationship to you

District When Case number, if known

MM /DD/YYYY

WNo. Goto line 12.
CJ Yes. Has your landlord obtained an eviction judgment against you and do you want to stay in your
residence?

W No. Go to line 12.

C) Yes. Fill out /nitial Statement About an Eviction Judgment Against You (Form 101A) and file it with
this bankruptcy petition.

Voluntary Petition for Individuals Filing for Bankruptcy page 3
Case 24-00216-ELG Doci1 Filed 06/17/24 Entered 06/17/24 13:40:53 Desc Main
Document Page 4 of 10

Debtor 1 J UAN ROSA MI! NANO Case number (if known),

First Name Middie Namo Last Name

Report About Any Businesses You Own as a Sole Proprietor

12. Are youa sole proprietor () No. Go to Part 4.
of any full- or part-time
business? Yes. Name and location of business

face propraeetaal pea DLINAS PROPERTIES LLC

business you operate as an Name of business if
individual, and is not a v s, any

separate legal entity such as

a corporation, partnership, or 212 RIGGS ROAD NE

LLC. Number Street

If you have more than one FIRST FLOOR

sole proprietorship, use a

separate sheet and attach it WASHINGTON DC 20011
to this petition. City State ZIP Code

Check the appropriate box to describe your business:

(J Health Care Business (as defined in 11 U.S.C. § 101(27A))
W Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
C) Stockbroker (as defined in 11 U.S.C. § 101(53A))

Q Commodity Broker (as defined in 11 U.S.C. § 101(6))

CO) None of the above

13. Are you filing under If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it
Chapter 11 of the can set appropriate deadlines. \f you indicate that you are a small business debtor, you must attach your
Bankruptcy Code and most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or if
are aon ona business °"Y of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
debtor? :

For a definition of small W No. |amnot filing under Chapter 11.

t
business debtor, see LI No. |! am filing under Chapter 11, but | am NOT a small business debtor according to the definition in
11 U.S.C. § 101(51D). the Bankruptcy Code.

LJ Yes. | am filing under Chapter 11 and | am a small business debtor according to the definition in the
Bankruptcy Code.

Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do youownorhaveany (no
roperty that poses or is

of imminent and
identifiable hazard to

public health or safety?
Or do you own any

property that needs If immediate attention is needed, why is it needed?

immediate attention?
For example, do you own

perishable goods, or livestock
that must be fed, or a building
that needs urgent repairs?

Where is the property?
Number Street

City State ZIP Code

Official Form 101 Voluntary Petition for Individuals Filing for Bankruptcy page 4
Case 24-00216-ELG Doci1 Filed 06/17/24 Entered 06/17/24 13:40:53 Desc Main

Debtor 1 JUAN ROSA ___MINANO

Document Page 5 of 10

First Name Middle Name

Last Name

ce Explain Your Efforts to Receive a Briefing About Credit Counseling

Case number (f knewr),

15. Tell the court whether
you have received a
briefing about credit
counseling.

The law requires that you
receive a briefing about credit
counseling before you file for
bankruptcy. You must
truthfully check one of the
following choices. If you
cannot do so, you are not
eligible to file.

If you file anyway, the court
can dismiss your case, you
will lose whatever filing fee
you paid, and your creditors
can begin collection activities
again.

Official Form 101

About Debtor 1:

You must check one:

(i | received a briefing from an approved credit

counseling agency within the 180 days before |
filed this bankruptcy petition, and | received a
certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency.

| received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, but | do not have a
certificate of completion.

Within 14 days after you file this bankruptcy petition,
you MUST file a copy of the certificate and payment
plan, if any.

C) | certify that 1 asked for credit counseling

services from an approved agency, but was
unable to obtain those services during the 7
days after | made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement.

To ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.

If the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you file.
You must file a certificate from the approved
agency, along with a copy of the payment plan you
developed, if any. If you do not do so, your case
may be dismissed.

Any extension of the 30-day deadline is granted
only for cause and is limited to a maximum of 15
days.

C) | am not required to receive a briefing about

credit counseling because of:

QO) Incapacity. 1 have a mental illness or a mental
deficiency that makes me
incapable of realizing or making
rational decisions about finances.

) Disability. |My physical disability causes me
to be unable to participate in a
briefing in person, by phone, or
through the internet, even after |
reasonably tried to do so.

L] Active duty. | am currently on active military
duty in a military combat zone.

If you believe you are not required to receive a
briefing about credit counseling, you must file a
motion for waiver of credit counseling with the court.

About Debtor 2 (Spouse Only in a Joint Case):

You must check one:

C) | received a briefing from an approved credit

counseling agency within the 180 days before |
filed this bankruptcy petition, and | received a
certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency.

C) I received a briefing from an approved credit

counseling agency within the 180 days before |
filed this bankruptcy petition, but] do not have a
certificate of completion.

Within 14 days after you file this bankruptcy petition,
you MUST file a copy of the certificate and payment
plan, if any.

C) I certify that |! asked for credit counseling

services from an approved agency, but was
unable to obtain those services during the 7
days after | made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement.

To ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy

If the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you file.
You must file a certificate from the approved
agency, along with a copy of the payment plan you
developed, if any. If you do not do so, your case
may be dismissed.

Any extension of the 30-day deadiine is granted
only for cause and is limited to a maximum of 15
days.

C) | am not required to receive a briefing about

credit counseling because of:

Qj incapacity. | have a menial illness or a mental
deficiency that makes me
incapable of realizing or making
rational decisions about finances.

QO Disability. |My physical disability causes me
to be unable to participate in a
briefing in person, by phone, or
through the internet, even after |
reasonably tried to do so.

C4 Active duty. | am currently on active military
duty in a military combat zone.

If you believe you are not required to receive a
briefing about credit counseling, you must file a
motion for waiver of credit counseling with the court.

Voluntary Petition for Individuals Filing for Bankruptcy page 5
Case 24-00216-ELG Doci1 Filed 06/17/24 Entered 06/17/24 13:40:53 Desc Main

Page 6 of 10

Case number ( knowr:

Document
Debtor 1 JUAN ROSA MINANO
First Name Middle Name Last Name
iJ-leger Answer These Questions for Reporting Purposes

16. What kind of debts do
you have?

17. Are you filing under
Chapter 7?

Do you estimate that after
any exempt property is
excluded and
administrative expenses
are paid that funds will be
available for distribution
to unsecured creditors?

18. How many creditors do
you estimate that you
owe?

19. How much do you
estimate your assets to
be worth?

20. How much do you
estimate your liabilities
to be?

iwi Sign Below

16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
as “incurred by an individual primarily for a personal, family, or household purpose "

QI No. Go to line 16b
Ud Yes. Go to line 17

16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
money for a business or investment or through the operation of the business or investment

L} No, Go to line 16c,
U1 Yes. Go to line 17

16c. State the type of debts you owe that are not consumer debts or business debts

Ya No. | am not filing under Chapter 7. Go to line 18.

UY Yes. | am filing under Chapter 7. Do you estimate that after any exempt property is exciuded and
administrative expenses are paid that funds will be available to distribute to unsecured creditors?

wi No
C) Yes

A 1-49
QJ 50-99
LI 100-199
C) 200-999

Ci $0-$50,000

CI $50,001-$100,000
CJ $100,001-$500,000
WZ $500,001-$1 million

L} $0-$50,000

C} $50,001-$100,000
C2 $100,001-$500,000
WZ $500,001-$1 million

C} 1,000-5,000
C3 5,001-10,000
C4 10,001-25,000

C2 $1,000,001-$10 million

CJ $10,000,001-$50 million
CJ $50,000,001-$100 million
(J $100,000,001-$500 million

LI $1,000,001-$10 million

LJ $10,000,001-$50 million
Ci $50,000,001-$100 million
CL $100,000,001-$500 million

C? 25,001-50,000
(2 50,001-100,000
() More than 100,000

) $500,000,001-$1 billion

O $1,000,000 001-310 billion
C2} $10,000,000,001-$50 billion
(J More than $50 billion

LJ $500,000,001-$1 billion

C3 $1,000,000,001-$10 billion
C3 $10,000,000,001-$50 billion
L3 More than $50 billion

For you

Official Form 101

| have examined this petition, and ! declare under penaity of perjury that the information provided is true and

correct.

If | have chosen to file under Chapter 7, | am aware that | may proceed, if eligible, under Chapter 7, 11,12, or 13
of title 11, United States Code. | understand the relief available under each chapter, and | choose to proceed

under Chapter 7

If no attorney represents me and | did not pay or agree to pay someone who is not an attorney to help me fill out
this document, | have obtained and read the notice required by 11 U.S.C. § 342(0)

| request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

| understand making a faise statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.

18 U.S.C.

152, 1341, 1519, and 3571.

x roca NW rater x

Gighature ot Dette

Executed on cet 7/2024

tp

Executed on

/ DD

LYYYY

Voluntary Petition for Individuals Filing for Bankruptcy

MM / DD

Signature of Debtor 2

IYYYY

page 6
Case 24-00216-ELG Doci1 Filed 06/17/24 Entered 06/17/24 13:40:53 Desc Main
Document Page 7 of 10

Debtor 1 JUAN ROSA MI NANO Case number \\! Aniows)
Firs Name Middle Name Last Name

|, the attorney for the debtor(s) named in this petition, declare that | have informed the debtor(s) about eligibility
For your attorney, if you are to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief
represented by one available under each chapter for which the person is eligible. | also certify that | have delivered to the debtor(s)
the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that | have no
If you are not represented knowledge after an inquiry that the information in the schedules filed with the petition is incorrect.
by an attorney, you do not

need to file this page. x
; Date
Signature of Attorney for Debtor MM /- DD /YYYY
Printed name
Firm name
Number Street
City State ZIP Code
Contact phone Email address
Bar number State

Official Form 101 Voluntary Petition for Individuals Filing for Bankruptcy page 7
Case 24-00216-ELG Doci1 Filed 06/17/24 Entered 06/17/24 13:40:53 Desc Main
Document Page 8 of 10

Debtor 1 JUAN ROSA MINANO Case numbet (fknewny,

First Name Middie Name Last Name
For you if you are filing this The law allows you, as an individual, to represent yourself in bankruptcy court, but you
bankruptcy without an should understand that many people find it extremely difficult to represent
attorney themselves successfully. Because bankruptcy has long-term financial and jegai

consequences, you are strongly urged to hire a qualified attorney.

If you are represented by
an attorney, you do not To be successful, you must correctly file and handle your bankruptcy case. The rules are very

need to file this page. technical, and a mistake or inaction may affect your rights. For example, your case may be
dismissed because you did not file a required document, pay a fee on time, attend a meeting or
hearing, or cooperate with the court, case trustee, U.S. trustee, bankruptcy administrator, or audit
firm if your case is selected for audit. If that happens, you could lose your right to file another
case, or you may lose protections, including the benefit of the automatic stay

You must list all your property and debts in the schedules that you are required to file with the
court. Even if you plan to pay a particular debt outside of your bankruptcy, you must list that debt
in your schedules. If you do not list a debt, the debt may not be discharged. If you do not list
property or properly claim it as exempt, you may not be able to keep the property. The judge can
also deny you a discharge of all your debts if you do something dishonest in your bankruptcy
case, such as destroying or hiding property. falsifying records, or lying. Individual bankruptcy
cases are randomly audited to determine if debtors have been accurate, truthful, and complete.
Bankruptcy fraud is a serious crime; you couid be fined and imprisoned.

If you decide to file without an attorney, the court expects you to follow the rules as if you had
nired an attorney. The court will not treat you differently because you are filing for yourself. To be
successful, you must be familiar with the United States Bankruptcy Code, the Federal Rules of
Bankruptcy Procedure, and the Jocal rules of the court in which your case is filed. You must also
be familiar with any state exemption laws that apply

Are you aware that filing for bankruptcy is a serious action with long-term financial and lega!
consequences?

UL No
Yes

Are you aware that bankruptcy fraud is a serious crime and that if your bankruptcy forms are
inaccurate or incomplete, you could be fined or imprisoned?

C1 No
Wd Yes
Did you pay or agree to pay someone who is not an attorney to help you fill out your bankruptcy forms?

No

Ci Yes. Name of Person
Attach Bankruptcy Petition Preparer’s Notice, Declaration, and Signature (Official Form 119).

By signing here, | acknowledge that | understand the risks involved in filing without an attorney. |
have read and understood this notice, and | am aware that filing a bankruptcy case without an
attorney may cause me to lose my rights or property if | do not properly handle the case

x fisue Cdue. =

‘sidnature of Debte 7 : t Signature of Gebtor 2
Date 06/10/2024 Dats
MM/DD /YYYY MM/ DD ‘YYYY
Contact phone (301) 651-6417 Contact phone
Cell phone (301) 651-6417 Cell phone
Email address dlinas.proeprties@grnail.com Email address

Official Form 101 Voluntary Petition for Individuals Filing for Bankruptcy page 8
Case 24-00216-ELG Doci1 Filed 06/17/24 Entered 06/17/24 13:40:53 Desc Main
Document Page 9 of 10

Case 24-00216-ELG Doci1 Filed 06/17/24 Entered 06/17/24 13:40:53 Desc Main
Document Page 10 of 10

Visit, DRIVER'S LICENSE =

PALACIOS
JAIME BARRANCOS

2929 CHERRY ST
FALLS CHURCH, VA 22047-2248
